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                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JACQUES RIVERA,                                 )
                                                )            No. 12 CV 04428
        Plaintiff,                              )
                                                )            Judge Joan B. Gottschall
        v.                                      )
                                                )            Magistrate Judge Mary M. Rowland
REYNALDO GUEVARA, et al.,                       )
                                                )            JURY TRIAL DEMANDED
        Defendants.                             )


             MOTION TO WITHDRAW APPEARANCE OF ELIZABETH MAZUR

        Plaintiff Jacques Rivera by and through his attorneys, Loevy & Loevy, moves to

withdraw the appearance of Elizabeth Mazur, stating in support as follows:

        1.      Elizabeth Mazur, along with other lawyers from Loevy & Loevy, has appeared for

Plaintiff in this case.

        2.      Ms. Mazur no longer works for Loevy & Loevy. Therefore, Plaintiff requests that

Ms. Mazur’s appearance is withdrawn.

        3.      Other attorneys from Loevy & Loevy will continue to represent Mr. Rivera in this

case.

        4.      No prejudice will ensue to Plaintiff or any other party if Ms. Mazur is permitted to

withdraw her appearance in this matter.

        WHEREFORE, Plaintiffs respectfully request that the Court enter an order permitting the

withdrawal of Elizabeth Mazur’s appearance as counsel in this matter.
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                                     Respectfully Submitted,

                                     JACQUES RIVERA

                               By:   /s/ Anand Swaminathan
                                     One of Plaintiff’s Attorneys

Arthur Loevy                         Locke E. Bowman
Jon Loevy                            David Shapiro
Russell Ainsworth                    Alexa Van Brunt
Anand Swaminathan                    RODERICK MACARTHUR JUSTICE CENTER
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                               CERTIFICATE OF SERVICE

       I, Anand Swaminathan, an attorney, certify that on July 2, 2018, I filed the foregoing

MOTION TO WITHDRAW using the Court’s CM/ECF system, which effected service on all

counsel of record.

                                            /s/ Anand Swaminathan
                                            One of Plaintiff’s Attorneys




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